




02-11-363-CV








&nbsp;




 
  
  
   
    
    &nbsp;
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  
 




&nbsp;

&nbsp;

NO. 02-11-00363-CV 

&nbsp;

&nbsp;




 
  
  In re Reginald Dale Peters
  
  
  &nbsp;
  
  
  RELATOR
  
 




&nbsp;

&nbsp;

------------

&nbsp;

ORIGINAL PROCEEDING

------------

MEMORANDUM
OPINION[1]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

The
court has considered relator’s petition for writ of mandamus and is of the
opinion that relief should be denied.&nbsp; Accordingly, relator’s petition for writ
of mandamus is denied.

PER CURIAM

&nbsp;

PANEL:&nbsp;
MEIER, J.; WALKER and GABRIEL, JJ.

&nbsp;

DELIVERED:&nbsp;
September 27, 2011









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; [1]See
Tex. R. App. P. 47.4, 52.8(d).







